                             Case 1:22-cv-05374-HG Document 1-1 Filed 09/09/22 Page 1 of 4 PageID #: 10

                                                         Exhibit A to the Complaint
Location: Queens, NY                                                                                    IP Address: 96.239.22.171
Total Works Infringed: 36                                                                               ISP: Verizon Fios
 Work      Hashes                                                                UTC             Site          Published     Registered   Registration
 1         Info Hash: A64381041A252AD91A64156C8F12B51A4933A693                          08-23-   Blacked       08-20-2022    08-29-2022   PA0002367733
           File Hash:                                                                     2022
           2DDDE9A5514A9E98DCCFC4EA6F1978A7B303D71F9AA9B450FD96423B72AA1AEE           15:10:28
 2         Info Hash: C3C1F6705297C7B709DDC04F4C4A103E6D4DAA3F                          08-09-   Tushy         08-07-2022    08-29-2022   PA0002367740
           File Hash:                                                                     2022
           8BD26EC78E69EEEECFCE0A885D77225F4BF58C208E450DF8D840C07B41F9FD34           13:00:18
 3         Info Hash: 522106AD5C604CAA38EEB8C9E645BB89B7246439                          08-03-   Tushy         07-31-2022    08-30-2022   PA0002367738
           File Hash:                                                                     2022
           E7E033B1618FD43B267E8CD0AF60A898EC2BEDA21372A6C5AE92760818965895           14:40:31
 4         Info Hash: 784C39E54E32FA8C96A54C475017FFDE7F48C39B                          08-01-   Blacked       07-16-2022    07-22-2022   PA0002359474
           File Hash:                                                                     2022
           66BBD91EAA1BBE0F5265C9253176AD64FDDE965587CA162FB49DDF2E081F7755           17:21:09
 5         Info Hash: 84C5F1993865C560AAB7CEE3BA17969A78454E43                          07-31-   Vixen         07-29-2022    08-29-2022   PA0002367717
           File Hash:                                                                     2022
           55FB7CE72A5580A94A6CAD18275E2B8FC36070D964F432799F9A330A1D870AA5           13:15:24
 6         Info Hash: 22F64C34048F6C532A3151D95A82FCDB8E19203E                          07-26-   Tushy         07-24-2022    08-29-2022   PA0002367746
           File Hash:                                                                     2022
           AD346A8CD6EF858B1E9B78B90620A5398A58CFA3EA6686949B09F71D08D1FAD3           14:51:32
 7         Info Hash: 57763A5B3583A13492A671B9919D28555796546C                          07-24-   Vixen         07-22-2022    08-30-2022   PA0002367741
           File Hash:                                                                     2022
           7882436CAE07D7E0F422B3A2EE3582E944A93B99893003C4A5E586C8C2069DAC           17:34:38
 8         Info Hash: DDF350312A2BD423AF62147F3BF6ADAED1492CC4                          07-21-   Tushy         07-10-2022    07-22-2022   PA0002359469
           File Hash:                                                                     2022
           81DF4D8A07F0EFCB6F4C11869DD86F8CC7AE49E1D24E4B61843A53683C366378           15:59:30
 9         Info Hash: 9484E63C729B5E6DEAA1B2A31E98075B16D914A4                          07-21-   Tushy         07-17-2022    07-22-2022   PA0002359476
           File Hash:                                                                     2022
           7378EBD3719E21C39E6A186B686DAB035587EBA3566D98DBDAF723BD309BF17C           13:37:58
 10        Info Hash: 53738436755048458B757E4BC000B8F5DBBE21BC                          07-07-   Slayed        02-15-2022    03-04-2022   PA0002345470
           File Hash:                                                                     2022
           209AD24E5931C5C8A5D2525164A39E02D2782EFD965C1EC67B585810227A4A14           14:19:08
 11        Info Hash: 8250F638FC20893A0B60A732D01F8296EB9A372E                          06-20-   Blacked       06-18-2022    06-27-2022   PA0002355032
           File Hash:                                                                     2022
           C0E0EE2941DF630579425C54DBFCC249222D7C1FC059F97E4137027A6C197835           09:51:01
                         Case 1:22-cv-05374-HG Document 1-1 Filed 09/09/22 Page 2 of 4 PageID #: 11

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: F873D287459AE98F148E83A7E0E34D675073E922                   06-15-   Blacked   06-13-2022   06-27-2022   PA0002354983
       File Hash:                                                              2022   Raw
       75C99ABCCC984618ACDBF3845C226B1AA27EC6BD60E57C64408D656EFBFB0679    11:26:44
13     Info Hash: E5D59982A2E5EE3FBDD91BA30CEC76A33D66E8F2                   06-07-   Blacked   06-04-2022   06-27-2022   PA0002354990
       File Hash:                                                              2022
       1D3D4D1D9F187B6DADBBB91714B2826F2293421F515EDA999DDDB4E900E8F2B3    14:46:54
14     Info Hash: 4885CE7D5699E3CBDEAE2E274F52D5F1327C4BE0                   06-06-   Vixen     06-03-2022   06-27-2022   PA0002354958
       File Hash:                                                              2022
       01D770367B42B71A960D89E0508B44C4CD782779DC85FCD9E39AAC803DC29260    13:23:11
15     Info Hash: 534769AE29D3B72B32CE2BEDB8000E4252712A88                   05-31-   Blacked   05-28-2022   06-27-2022   PA0002355034
       File Hash:                                                              2022
       A688419FFC5FDEA22F8AC750694B51CC206ADBA8E332102EBD0F80DFF38E103B    18:49:14
16     Info Hash: 70F85629A995E2934F66A91B25DFEB54DB07C4FE                   05-10-   Tushy     05-08-2022   05-20-2022   PA0002350382
       File Hash:                                                              2022
       EBA7009E2D6678911F0EC7BC4896E6707202F6BFAB30CD1F81B996E1D1E98058    12:47:14
17     Info Hash: 94681F93361866C25B301A4EFE1BB6A18EF70C0C                   05-09-   Vixen     05-06-2022   05-20-2022   PA0002350383
       File Hash:                                                              2022
       8BC43B2858E33C443F0F5F981D0FD86F5CE8A8C64F427451B05B06CFD303AA56    14:33:48
18     Info Hash: 88A73AB29C9C90A264F22EE7F59A6066844D6EAD                   05-02-   Blacked   04-30-2022   05-20-2022   PA0002350385
       File Hash:                                                              2022
       49E37590E3475196F276692F993CBAD1A77E336E73CD79C444A7C590F6F2F3C4    12:23:18
19     Info Hash: 197FAB6A9620A7F6B392B44821137931507AAE96                   04-25-   Blacked   04-23-2022   05-20-2022   PA0002350376
       File Hash:                                                              2022
       0A8B96F277B75D496C7851915ABA06F7EA1E475D94633164EFE9FFFC951765E9    11:42:09
20     Info Hash: 1F641B5D025FEB120507720DE29BD0339E07E383                   04-18-   Tushy     02-25-2018   03-01-2018   PA0002079188
       File Hash:                                                              2022
       7E9EFA74DD4CBFFC83DFBA3721FA235A9E71E1E5FD312E786EAA405B813D7FF4    18:57:45
21     Info Hash: 41B0235D1BFC0821806275E650E024915820E402                   04-18-   Blacked   11-21-2017   01-04-2018   PA0002069353
       File Hash:                                                              2022
       405ABE5CB469E85B27758E34167AD75D028FDE4C6178E200CD77F5345D2B3856    18:18:09
22     Info Hash: 9093A95B72BE2FB650EBA82F46360B5A4D90ABEB                   04-18-   Blacked   09-27-2018   11-01-2018   PA0002143428
       File Hash:                                                              2022
       ACF0FADF3013E768E47AC57D8D98D43312E4714BB6E19FC3BE9D3869284FBFB6    15:35:11
23     Info Hash: AB2FF852202347B46D62EF352A51D480661A4FAE                   04-18-   Blacked   03-21-2018   04-12-2018   PA0002091520
       File Hash:                                                              2022
       1CAEB0CE3A31FF4320D0350A1ADE7847C43C66E6F2F16442EC5D78D77ECD2B77    15:08:41
                         Case 1:22-cv-05374-HG Document 1-1 Filed 09/09/22 Page 3 of 4 PageID #: 12

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: E0AF7859247E9800D759DA84A45EEFBFDDD10940                   04-12-   Tushy     04-10-2022   04-23-2022   PA0002346425
       File Hash:                                                              2022
       0B14DBE570574A0AF499E20F778375B8D4031013148AB5387C2EF9DF6BEFCA94    12:29:15
25     Info Hash: E51B7BD5E89B3C6A4C023463F93EF4C0A984EF13                   03-23-   Blacked   03-21-2022   03-29-2022   PA0002342707
       File Hash:                                                              2022   Raw
       CCEBE131091A6995E0AD784BDBC655E25807BB9AB8E39C98C702E675D7D695A1    16:18:17
26     Info Hash: 8718D1A730597C8875843BC558E09F3F826B2CA8                   03-22-   Tushy     03-20-2022   03-29-2022   PA0002342842
       File Hash:                                                              2022
       9DA51859B1898834419940EC5ECB7219D68EF073463B076855A03D3715ECA676    16:18:22
27     Info Hash: 051D34E23334E775BADDB2E6D44B554659B70352                   02-22-   Tushy     02-20-2022   03-29-2022   PA0002342839
       File Hash:                                                              2022
       B689DD45562F442F3D8F3826A771C9E400070FE767ACB08881AEB0460CFDFE34    11:25:59
28     Info Hash: 869B59F8458BB745FEC06D0FB6573DD27D7CD8F2                   02-21-   Vixen     02-18-2022   03-29-2022   PA0002342837
       File Hash:                                                              2022
       AE6B574E5E895357389809F18BA5F70C675AD22B5F5FFFE79171461B37BACF02    14:26:27
29     Info Hash: 99E4A26B4DC0A2D18F336CEA83967C812746D773                   02-04-   Vixen     05-19-2018   07-14-2018   PA0002128156
       File Hash:                                                              2022
       1F47DD0CC35591390402557A316DB71000752C51ED3DD8897D436ACCD8B28ADB    16:18:58
30     Info Hash: 0420F802009CE18F0457A604CC7AFE56958F7A86                   02-04-   Tushy     02-05-2018   02-20-2018   PA0002104194
       File Hash:                                                              2022
       52B2B47458655E3EBFF05EAF59FE73D8C47C1AAD76C8EAE125A54894DD084DA5    15:07:58
31     Info Hash: 2BDB068D7649BB74F337A38B5E174EA8741D1E6D                   02-04-   Blacked   07-16-2018   09-01-2018   PA0002119681
       File Hash:                                                              2022   Raw
       AE86DBD569E77F0931D97B7EF5B5E149F896C2CA940B53E93E202B0D739ACFDA    14:45:31
32     Info Hash: E4B0A0BC3ABC031469C2C28E043845FC1107D41E                   02-01-   Tushy     01-30-2022   03-04-2022   PA0002345788
       File Hash:                                                              2022
       D02CC5CDE1A25BDA521B09BC8D09D3FEAE1EAA29357C4C55C17A5EDEBACC041A    13:15:28
33     Info Hash: 219646C6A2BE95846F85B680A80E4003916758B1                   01-31-   Blacked   01-29-2022   02-14-2022   PA0002335485
       File Hash:                                                              2022
       3D644DF15A02586AD4A99F31146F41DC6D29A7560013D39F8A9D0D2154148AC9    16:00:24
34     Info Hash: 4BA313390DE8B8F5CDDCE0F6D2132545ABC65A4B                   01-24-   Blacked   01-22-2022   02-14-2022   PA0002335440
       File Hash:                                                              2022
       09BA34BE40D90C07C69205C1C2FEF8AA41FB0DD3BE90FCAAEB0E25E4C034B90A    11:31:05
35     Info Hash: 775DEB6869799752C425208A57EC76F2FD91B60C                   01-23-   Vixen     01-21-2022   02-14-2022   PA0002335466
       File Hash:                                                              2022
       C7AF91E7382DAFE1AC88504E58F319D0553667EBD1539184C2C5ACF67D53CFFC    14:54:10
                         Case 1:22-cv-05374-HG Document 1-1 Filed 09/09/22 Page 4 of 4 PageID #: 13

Work   Hashes                                                             UTC       Site     Published    Registered   Registration
36     Info Hash: D7BB58A0800EC4F7DE6145777AB30F4BE14F41B3                   01-22- Slayed   12-14-2021   01-07-2022   PA0002337928
       File Hash:                                                              2022
       76BF26B54A478C83AD6D5230EBD2C04CA484DAA584DB0A439E7BAC5C05C9A930    16:29:04
